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   8                    UNITED STATES DISTRICT COURT
   9                  CENTRAL DISTRICT OF CALIFORNIA
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  11 JOSE ANTONIO FRANCO-              )   Case No. CV-10-02211 DMG (DTBx)
     GONZALEZ, et al.,                 )
  12                                   )   ORDER FURTHER
          Plaintiffs-Petitioners,      )   IMPLEMENTING THIS COURT’S
  13                                   )   PERMANENT INJUNCTION [785]
                      v.               )
  14                                   )
     ERIC H. HOLDER, Jr., Attorney     )
  15 General, et al.,                  )
                                       )
  16       Defendants-Respondents.     )
                                       )
  17                                   )
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  18                                   )
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   1            The purpose of this Order is to further implement the Court’s Permanent
   2 Injunction. [Doc. # 593.] Defendants will share both the Court’s Permanent
   3 Injunction as well as this Order with the persons, agencies, or legal entities
   4 responsible for compliance with the Permanent Injunction, this Order, U.S.
   5 Immigration and Customs Enforcement’s (“ICE”) national detention standards, and
                                                                             1
   6 oversight of medical care provided at any immigration detention facility in
   7 California, Arizona, or Washington.
   8            The Court orders Defendants to implement the following:
   9      (I)       Screening and Information Gathering System. Such system, which is
  10                designed to determine Class membership, shall include initial mental
  11                health screening of detainees upon arrival at detention facilities, mental
  12                health assessments, and gathering of documents and information relevant
  13                to detainees’ mental health. See Section I, infra.
  14      (II)      Information Sharing System. Such system shall ensure that Defendants
  15                provide relevant documents and information regarding detainees’ mental
  16                health to Immigration Judges. See Section II, infra.
  17      (III) Evaluation System. Such system, which is designed to determine
  18                whether a Main Class member is competent to represent him- or herself
  19                in immigration proceedings, shall include Judicial Competency Inquiries,
  20                Forensic Competency Evaluations and Competency Reviews. See
  21                Section III, infra.
  22      (IV) Other Matters. See Section IV, infra.
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  26         Throughout this Order, the terms “immigration detention facility,”
     “detention facility,” and “facility” are used interchangeably, and refer to facilities
  27 used by, contracted with, or acting on behalf of ICE to hold detainees for more
     than 72 hours.
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   1 I.      SCREENING SYSTEM
   2         To comply with the Permanent Injunction, Defendants must implement,
   3 within 90 days of the entry of this Order, a system for screening individuals in the
   4 Department of Homeland Security’s (“DHS”) custody with the purpose of
   5 accurately identifying Sub-Class One and Sub-Class Two members, both of which
   6 are sub-classes of the Plaintiff Class, i.e., “individuals who are or will be in DHS
   7 custody for immigration proceedings in California, Arizona, and Washington who
   8 have been identified by or to medical personnel, DHS, or an Immigration Judge, as
   9 having a serious mental disorder or defect that may render them incompetent to
  10 represent themselves in immigration proceedings, and who presently lack counsel
  11 in their immigration proceedings.” See Section IV.D, infra. Sub-Class One
  12 members are those members of the Plaintiff Class who are “incompetent to
  13 represent themselves in immigration proceedings.” Id. Sub-Class Two members
  14 are those members of the Plaintiff Class “who have been detained for more than
  15 six months.” Id. Therefore, the Court orders that the following steps be taken with
  16 respect to all individuals who are admitted into ICE custody at an immigration
  17 detention facility in California, Washington, and Arizona, whether or not such
  18 facility is staffed by the ICE Health Service Corps (“IHSC”):
  19         A. Screening Procedures
  20            1. To ensure the integrity of the screening procedures set out in this
  21               Section, and of the competency procedures set out in Section III,
  22               infra:
  23               a. Unless and until such time as the individual is determined mentally
  24                  competent by an Immigration Judge, individuals identified as Class
  25                  members pursuant to the procedures set forth herein shall not be
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   1                  removed from the United States2 unless first afforded a Qualified
   2                  Representative under the procedures set forth in the Court’s
   3                  Permanent Injunction. [Doc. # 593.]
   4               b. The transfer of detainees between immigration detention facilities
   5                  may be necessary and appropriate in order to facilitate compliance
   6                  with this Order. ICE shall seek, however, to avoid transfers that
   7                  may significantly hamper the ability of the detainee’s family or
   8                  community support resources to provide assistance in the
   9                  detainee’s immigration proceedings (including custody
  10                  determinations and placement plans). In addition, ICE must take
  11                  into consideration whether any transfer will cause further
  12                  deterioration of the detainee’s mental health. Any Class member
  13                  who has entered ICE custody after November 21, 2011, and who is
  14                  subsequently transferred outside of Arizona, California or
  15                  Washington, continues to be a Class member and entitled to all of
  16                  the benefits of Class membership during the course of their
  17                  immigration proceedings, including those in the Permanent
  18                  Injunction [Doc. # 593] and in this Order.
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  23        2
              Once jurisdiction vests before the Immigration Judge and an individual is
  24 identified as a Class member in his or her pending immigration proceedings,
     Defendants shall not terminate immigration proceedings for the purpose of
  25 removing, deporting, or excluding the Class member (i.e., pursuant to voluntary
     departure, or return, under 8 U.S.C. § 1229c; reinstatement under 8 U.S.C. §
  26 1231(a)(5); expedited removal under 8 U.S.C. § 1225(b); or administrative
     removal under 8 U.S.C. § 1228(b)), unless or until he or she has first been
  27 determined mentally competent by the Immigration Judge or provided a Qualified
     Representative.
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   1             2. Absent emergency circumstances related to facility security or the
   2                health and safety of staff or detainees, all detainees3 shall be initially
   3                screened for evidence of a “serious mental disorder or condition”4
   4                upon their admission into ICE custody at an immigration detention
   5                facility, in accordance with the applicable ICE national detention
   6                standards.5 Absent emergency circumstances related to facility
   7                security or the health and safety of staff or detainees, detainees shall
   8                be further screened (or assessed) by a currently and appropriately
   9                licensed psychiatrist, physician, physician assistant, psychologist,
  10                clinical social worker, licensed nurse practitioner, or registered nurse
  11                within 14 days of their admission into ICE custody at an immigration
  12                detention facility. Such further screening shall be conducted utilizing
  13                a written screening questionnaire designed to identify individuals who
  14                may suffer from serious mental disorders or conditions, including
  15                mental health conditions for which the individual has not been
  16                previously diagnosed. Such screening questionnaire must not rely
  17                solely on a self-reported history of mental illness, but must ask the
  18                screener to interpret behavior and ask the individual questions to
  19         3
             The terms “immigration detainee” and “detainee” are used interchangeably
  20 and refer to individuals detained in ICE custody for immigration proceedings in
     California, Arizona, or Washington.
  21       4
             The term “serious mental disorder or condition” shall have the same
  22 meaning as the Class membership criteria, identified in Section I.A.3.b.
             5
  23            “Applicable ICE national detention standards” are those standards
       currently applicable to detainees detained at the facilities set forth in Appendix A
  24   to this Order. Defendants affirm that the facilities identified in Appendix A are the
       exclusive locations where immigration detainees are detained for more than 72
  25   hours in the States of Washington, Arizona and California, and further affirm that
       the national detention standards listed next to each of those facilities are those in
  26   force at those facilities today. To the extent that there are prospective changes in
       the “applicable ICE national detention standards,” the screening procedures
  27   applicable to Class members shall be no less protective than those found in the
       detention standards set forth in Appendix A.
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   1                gauge his or her understanding of his or her current situation. The
   2                results of the screening questionnaire shall be documented.6
   3             3. Individuals identified through the above-referenced screening process
   4                as exhibiting evidence of a serious mental disorder or condition shall
   5                be referred for a mental health assessment. Individuals first identified
   6                at any later stage as exhibiting evidence of a serious mental disorder
   7                or condition, such as at a hearing before an Immigration Judge or
   8                upon receipt of information provided by a third party, shall also be
   9                referred for a mental health assessment. Such mental health
  10                assessments are for the purpose of diagnosis, treatment, or
  11                stabilization of the individual and are not conducted for the purpose of
  12                assessing the individual’s legal competency. Based on the results of
  13                the mental health assessment and any other available information, the
  14                qualified mental health provider will determine whether an
  15                unrepresented detainee meets the criteria set forth in Section I.A.3.b(i)
  16                or (ii), such that he or she is a member of the Class certified in this
  17                case. Where clinically indicated, in conducting the mental health
  18                assessment, the qualified mental health provider must inquire about
  19
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  21         6
              For example, the screening shall seek to identify whether the individual has
  22 a history of mental illness, has previously taken medication for mental illness or
     received mental health services, has been hospitalized for psychiatric condition(s),
  23 experienced auditory or visual hallucinations, or demonstrates evidence of
     cognitive impairment. The screener will also look for evidence of a mental
  24 disability, bizarre or unusual behavior, or other obvious signs of mental illness.
     Within 90 days of the entry of this Order, Defendants will provide to Plaintiffs the
  25 relevant screening forms currently in use at all immigration detention facilities in
     Arizona, California and Washington, ensuring that the forms satisfy the
  26 requirements set forth in this Order. If Plaintiffs allege such forms do not comply
     with the terms of this Order, the Parties shall meet and confer regarding the
  27 screening forms and, if the Parties do not resolve their dispute informally, the
     matter shall be addressed, initially, before the Special Master.
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   1               and consider the detainee’s relevant social history.7 The mental health
   2               assessment will be completed as soon as practicable, ordinarily within
   3               14 days after the detainee is identified through the screening process
   4               described in Section I.A.2, supra, as exhibiting evidence of a serious
   5               mental disorder or condition.
   6               a. The mental health assessment shall be performed by a qualified
   7                  mental health provider. For purposes of this Order, “qualified
   8                  mental health providers” are currently and appropriately licensed
   9                  psychiatrists, physicians, physician assistants, psychologists,
  10                  clinical social workers, licensed nurse practitioners, and registered
  11                  nurses. Providers who are general practitioners shall have
  12                  appropriate training in mental health assessments.
  13               b. For purposes of this Order, unrepresented8 immigration detainees
  14                  are members of the Class certified in this case, see Section IV.D,
  15                  infra, if the criteria of subparagraph (i), (ii) or (iii) of this
  16                  paragraph are met:
  17                      (i)   a qualified mental health provider determines the
  18                            detainee9 meets one or both of the following criteria:
  19
  20
             7
  21         Relevant social history may include factors such as educational level,
     special education history, if any, occupational functioning, relationships, and
  22 cultural concerns.
             8
  23         Detainees shall be considered unrepresented unless one of the following
     has entered an appearance on their behalf: “(1) an attorney, (2) a law student or
  24 law graduate directly supervised by a retained attorney, or (3) an accredited
     representative, all as defined in 8 C.F.R. § 1292.1.” Franco-Gonzalez, et al. v.
  25 Holder, 828 F. Supp. 2d 1133, 1147 (C.D. Cal. 2011); see also Doc. # 593 at ¶ 8.
             9
  26         Such determination may be made regardless of whether the detainee was
     previously diagnosed with a psychiatric condition, was treated in the past or is now
  27 being treated for a psychiatric condition, and regardless of whether the cause of the
     disorder would be considered a medical or, instead, a psychiatric condition.
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   1                           (1)   has a mental disorder that is causing serious
   2                                 limitations in communication, memory or general
   3                                 mental and/or intellectual functioning (e.g.,
   4                                 communicating, reasoning, conducting activities of
   5                                 daily living, social skills); or a severe medical
   6                                 condition(s) (e.g., traumatic brain injury or
   7                                 dementia) that is significantly impairing mental
   8                                 function; or
   9                           (2)   is exhibiting one or more of the following active
  10                                 psychiatric symptoms or behavior: severe
  11                                 disorganization, active hallucinations or delusions,
  12                                 mania, catatonia, severe depressive symptoms,
  13                                 suicidal ideation and/or behavior, marked anxiety
  14                                 or impulsivity.
  15                   (ii)    a qualified mental health provider otherwise diagnoses
  16                           the detainee as demonstrating significant symptoms of
  17                           one of the following:
  18                           (1)   Psychosis or Psychotic Disorder;
  19                           (2)   Bipolar Disorder;
  20                           (3)   Schizophrenia or Schizoaffective Disorder;
  21                           (4)   Major Depressive Disorder with Psychotic
  22                                 Features;
  23                           (5)   Dementia and/or a Neurocognitive Disorder; or
  24                           (6)   Intellectual Development Disorder (moderate,
  25                                 severe or profound).
  26                   (iii)   an Immigration Judge finds that the evidence of record
  27                           results in a bona fide doubt about the detainee’s
  28                           competency to represent him- or herself.


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   1           4. Class membership, as defined in Section I.A.3.b, supra, shall not be
   2              terminated by a later determination of competency by an Immigration
   3              Judge pursuant to Section III, infra.
   4           5. Within seven (7) days of completion of the mental health assessment
   5              described in Section I.A.3, supra, the qualified mental health provider
   6              shall cause the ICE Office of the Chief Counsel to be notified if such
   7              mental health assessment or other available information shows that an
   8              immigration detainee meets the criteria described in Section I.A.3.b(i)
   9              or (ii), supra.
  10        B. Information Gathering Procedures for ICE and Detention Facility
  11           Personnel
  12           1. Whenever ICE or detention facility personnel become aware that an
  13              immigration detainee identified through the screening system
  14              described in Section I.A.2, supra, was previously found incompetent
  15              in any court proceedings (including past criminal proceedings) or was
  16              hospitalized due to a mental disorder or condition, ICE or detention
  17              facility personnel must provide that information, and any related
  18              documents in their possession, to the qualified mental health provider
  19              performing the mental health assessment. If the mental health
  20              assessment has already been completed at the time that ICE or
  21              detention facility personnel provide this information to the qualified
  22              mental health provider, the qualified mental health provider must
  23              determine whether the new information affects the determination
  24              whether a detainee meets the Class membership criteria described in
  25              Section I.A.3.b(i) or (ii), supra, and shall cause the ICE Office of the
  26              Chief Counsel to be notified of any change in that determination.
  27           2. ICE and detention facility personnel must accept relevant information
  28              and documents from family members, social workers, or treatment


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   1              providers regarding detainees’ mental disorders or conditions, and
   2              provide such information and documents to the qualified mental
   3              health provider performing the mental health assessment. If a
   4              detainee was not referred for a mental health assessment upon initial
   5              screening, but information and/or records received through third
   6              parties indicate that an individual suffers from a serious mental
   7              disorder or condition, such individual shall be referred for a mental
   8              health assessment for further evaluation. If the mental health
   9              assessment has already been completed at the time that ICE or
  10              detention facility personnel provide this information or documents to
  11              the qualified mental health provider, the qualified mental health
  12              provider must determine whether the new information or documents
  13              affect the determination whether a detainee meets the Class
  14              membership criteria described in Section I.A.3.b(i) or (ii), supra, and
  15              shall cause the ICE Office of the Chief Counsel to be notified of any
  16              change in that determination.
  17           3. ICE will utilize a toll-free telephone hotline and contact information
  18              for detainees, family members, and others to report and provide
  19              relevant information regarding detainees who have serious mental
  20              disorders or conditions that may impact their ability to represent
  21              themselves in immigration proceedings. A notice advertising the
  22              telephone hotline and contact information will be posted at all
  23              detention facilities, both where detainees reside and in visitation areas,
  24              and on ICE’s public website. Such notice shall explicitly state that the
  25              hotline is available to report detainees who have serious mental
  26              disorders or conditions, and shall be available in the languages most
  27              likely to be understood by detainees and family members, including
  28              English and Spanish. Hotline operators shall cause any relevant


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   1              information regarding detainees with serious mental disorders or
   2              conditions to be reported to the ICE Office of the Chief Counsel
   3              within seven (7) days of the receipt of such information. If a detainee
   4              identified through the hotline was not previously referred for a mental
   5              health assessment, but information received through the hotline
   6              indicates that the detainee suffers from a serious mental disorder or
   7              condition, then ICE shall ensure that the detainee is referred for a
   8              mental health assessment.
   9           4. In the event Plaintiffs’ counsel alleges that detention facility personnel
  10              have failed to comply with the terms of Section I.B, Plaintiffs’
  11              counsel shall provide Defendants with a written statement describing
  12              the alleged non-compliance (“Notice of Non-Compliance”). Within
  13              seven (7) calendar days, counsel for the Parties shall meet and confer
  14              in a good faith effort to resolve their dispute informally. In the event
  15              that the Parties are unable to resolve the dispute informally within 21
  16              calendar days of the Notice of Non-Compliance, Plaintiffs may file a
  17              motion for enforcement in the United States District Court for the
  18              Central District of California. Nothing in this provision is intended to
  19              limit Plaintiffs’ ability to seek enforcement of any other provisions of
  20              this injunction by any appropriate means. The provisions of this
  21              Section are not intended to resolve the question of whether third
  22              parties who are not Defendants in this case can be subject to
  23              contempt. See Fed. R. Civ. P. 65(d)(2).
  24 II.    INFORMATION SHARING SYSTEM BETWEEN ICE AND EOIR
  25        To further ensure that Immigration Judges have all of the information
  26   available to Defendants so that they can, among other things, evaluate competency
  27   and identify members of Sub-Class One, Defendants must implement a
  28   functioning system for sharing information gathered through that screening and


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   1   identification process with the Executive Office for Immigration Review
   2   (“EOIR”), which includes Immigration Judges and the Board of Immigration
   3   Appeals (“BIA” or “Board”). Therefore, the Court orders that within 90 days of
   4   this Order, Defendants shall implement the following system:
   5        A. Upon notification that a detainee meets the criteria of Section I.A.3.b,
   6           and is therefore a member of the Class, the ICE Office of the Chief
   7           Counsel shall gather the following documents and information, if in the
   8           possession of ICE or the detention facility personnel: any documents or
   9           information that ICE identifies as relevant to competency provided to an
  10           immigration detention facility or to ICE by the unrepresented
  11           immigration detainee, his or her family, medical providers, caseworkers,
  12           friends, legal service providers, and detention facility staff; any
  13           information or documents gathered by ICE or the detention facility
  14           personnel pursuant to Section I.B, supra; any competency determinations
  15           made in prior judicial proceedings; any forensic competency evaluations;
  16           any mental health assessment completed pursuant to Section I.A.3, supra;
  17           any other evidence of an evaluation or a determination regarding whether
  18           the detainee is or was mentally incompetent; and any other documents
  19           that ICE identifies as relevant to the Immigration Judge’s determination
  20           pursuant to Section III. ICE and detention facility personnel shall also
  21           notify the ICE Office of the Chief Counsel (or cause the ICE Office of
  22           the Chief Counsel to be notified) when they are aware that, in the last
  23           five years, a detainee has been housed in a medical unit or cell due to a
  24           mental disorder, has been placed in segregation due to a mental disorder,
  25           has displayed an intent to commit suicide or self-harm due to a mental
  26           disorder, or has been hospitalized due to a mental disorder. Finally, if
  27           ICE is aware of third party records that it identifies as relevant to the
  28           Immigration Judge’s determination pursuant to Section III, ICE will


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   1              inform the ICE Office of the Chief Counsel of the existence of those
   2              records.
   3         B. Within 21 days of the notification described in Section II.A, supra, the
   4              ICE Office of the Chief Counsel shall file a notice with EOIR to notify
   5              the Immigration Judge presiding over the detainee’s case, or the Board of
   6              Immigration Appeals, if applicable, that the detainee—if unrepresented—
   7              is a member of the Class. The notice shall contain all information
   8              gathered by the ICE Office of the Chief Counsel pursuant to Section II.A,
   9              supra, and shall attach to that notice all documents gathered by the ICE
  10              Office of the Chief Counsel pursuant to Section II.A, supra, for
  11              consideration by the Immigration Judge at the Judicial Competency
  12              Inquiry and Competency Review. If the ICE Office of Chief Counsel
  13              receives additional documents or information described in Section II.A
  14              after the notice is filed, it will provide such documents or information to
  15              the Immigration Judge as soon as practicable.
  16         C. The ICE Office of the Chief Counsel will also submit to the Immigration
  17              Judge any other medical records in ICE’s possession, custody, or control,
  18              should the Immigration Judge request such information.10
  19 III.    EVALUATION SYSTEM
  20         Within 90 days of the entry of this Order, Defendants are ordered to
  21 implement the following system:
  22         When documentary, medical, or other evidence that comes to ICE’s or
  23 EOIR’s attention indicates that the detainee is a member of the Class (i.e., meets
  24 one of the criteria set forth in Section I.A.3.b, supra), the Immigration Judge shall
  25         10
              If an unrepresented detainee with an appeal pending before the Board was
  26 not previously determined to be a Class member, and information comes to the
     attention of ICE that the individual falls under Section I.A.3.b, supra, ICE will
  27 notify the Board and request a limited remand, in accordance with Section III.D.5,
     infra.
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   1 conduct a Judicial Competency Inquiry and, when appropriate, a Competency
   2 Review, for the purpose of determining whether the Class member is competent to
   3 represent him- or herself in immigration proceedings. Such hearings shall conform
   4 to the standard and procedures set forth below.
   5         A. Pro Se Competency Standard
   6         When determining whether an unrepresented respondent is competent to
   7 represent him- or herself in an immigration proceeding, the Immigration Judge
   8 must consider both the individual’s ability to meaningfully participate in the
   9 proceeding as set forth in Matter of M-A-M-, 25 I. & N. Dec. 474 (BIA 2011), and
  10 the individual’s ability to perform additional functions necessary for self-
  11 representation.
  12         Immigration Judges shall consider the following when determining if a
  13 respondent is competent to represent him- or herself:
  14         First, the respondent must be able to meaningfully participate in the
  15 proceeding as set forth in Matter of M-A-M- . To meaningfully participate, the
  16 respondent must have a rational and factual understanding of:
  17            a. the nature and object of the proceeding;
  18            b. the privilege of representation by counsel;
  19            c. the right to present, examine, and object to evidence;
  20            d. the right to cross-examine witnesses; and
  21            e. the right to appeal.
  22         Second, for an unrepresented respondent to be competent to represent him or
  23 herself in an immigration proceeding, he or she must also be able to perform
  24 additional functions necessary for self-representation. To represent him- or
  25 herself, the respondent must have sufficient present ability to:
  26            a. exercise the rights listed above;
  27            b. make informed decisions about whether to waive the rights listed
  28               above;


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   1              c. respond to the allegations and charges in the proceeding;
   2              d. present information and evidence relevant to eligibility for relief; and
   3              e. act upon instructions and information presented by the Immigration
   4                 Judge and government counsel.
   5         A respondent is incompetent to represent him- or herself in an immigration
   6 proceeding if he or she, because of a mental disorder (including Intellectual
   7 Disability), is unable to satisfy any of the provisions above. For purposes of this
   8 standard, “mental disorder” (including Intellectual Disability) is defined as a
   9 significant impairment of the cognitive, emotional, or behavioral functioning of a
  10 person.
  11         Guidance on applying the pro se competency standard.11 The following
  12 guidance is provided to assist Immigration Judges in applying the pro se
  13 competency standard.
  14         First, in applying the above definition, the presence of a legal guardian, near
  15 relative, friend, or custodian, under 8 C.F.R. § 1240.4, shall not affect an
  16 Immigration Judge’s assessment of whether a respondent is able to perform the
  17 additional functions necessary for self-representation.
  18         Second, in assessing whether the respondent can respond to allegations and
  19 charges in the proceedings, the Immigration Judge should consider, among other
  20 things, the person’s ability to evaluate and coherently discuss legal arguments and
  21 defenses.
  22         Third, in assessing whether the respondent can present information and
  23 evidence relevant to eligibility for relief, the Immigration Judge should consider,
  24
  25         11
              Wherever the pro se competency standard appears in written materials that
  26 will be used as a reference or to train either Immigration Judges or mental health
     experts who will implement the terms of the Injunction, the standard will be
  27 accompanied by the text of the “guidance” on applying the definition of pro se
     competency.
  28


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   1 among other things, the person’s ability to present rational and coherent testimony
   2 based upon adequate recall.
   3        B. Judicial Competency Inquiries and Competency Reviews
   4        Judicial Competency Inquiries and Competency Reviews shall proceed as
   5 follows.
   6            1. There is no presumption of competence or incompetence for Class
   7               members.
   8            2. There is no burden of production or persuasion at either the Judicial
   9               Competency Inquiry or the Competency Review. Such inquiries and
  10               reviews shall serve as information-gathering hearings, which will
  11               inform Immigration Judges’ determinations concerning a Class
  12               member’s competence to represent him- or herself in the
  13               proceedings. Consistent with Matter of M-A-M-, 8 U.S.C. § 1229a
  14               and its implementing regulations, and the procedures set forth in
  15               Section II, supra, the parties agree that the ICE Office of the Chief
  16               Counsel’s interest in presenting evidence and argument is “in the law
  17               being observed” and not in a particular result concerning a Class
  18               member’s competence or incompetence. Reid v. INS, 949 F.2d 287,
  19               288 (9th Cir. 1991). To the extent the evidence establishes a Class
  20               member’s incompetence, the ICE Office of the Chief Counsel’s
  21               presentation of evidence and argument should assist the Immigration
  22               Judge in according the appropriate procedural rights or benefits
  23               pursuant to the Court’s Permanent Injunction [Doc. # 593] or
  24               Implementation Plan Order. See Matter of S-M-J-, 21 I. & N. Dec.
  25               722, 727 (BIA 1997).
  26            3. The Immigration Judge shall convene a Judicial Competency Inquiry
  27               no later than 21 days after receiving the notice pursuant to Section
  28               II.B that a detainee is a member of the Main Class.


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   1              4. At the beginning of the Judicial Competency Inquiry, the Immigration
   2                 Judge shall advise and question the Class member based on the
   3                 Competency Proceeding Advisal, attached as Appendix B. The
   4                 Immigration Judge is neither required to ask each and every question
   5                 listed in the Advisal nor prohibited from asking questions not
   6                 otherwise listed therein.
   7              5. Following the Judicial Competency Inquiry, the Immigration Judge
   8                 may make any of the following findings, based on all available
   9                 evidence and any testimony presented:
  10                 a. Class member is competent. There is no reasonable cause12 to
  11                    believe that the Class member is suffering from a mental disorder
  12                    that impairs his or her ability to perform the functions listed in the
  13                    definition of competence to represent him- or herself.
  14                 b. Class member is incompetent. A preponderance of the evidence
  15                    establishes that the Class member is not competent to represent
  16                    him- or herself in the proceedings.
  17                 c. Insufficient evidence to determine if Class member is competent.
  18                    The evidence is not sufficient to support a finding of incompetence
  19                    but the Immigration Judge has reasonable cause to believe that the
  20                    Class member is suffering from a mental disorder that may impair
  21                    his or her ability to represent him- or herself.
  22              6. When, at the conclusion of the Judicial Competency Inquiry, an
  23                 Immigration Judge determines that a Class member is not competent
  24                 to represent him- or herself in the proceedings pursuant to Section
  25
  26
             12
  27           The “no reasonable cause to believe” standard is equivalent to a “bona
       fide doubt” standard and is less onerous than a probable cause standard.
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   1              III.B.5.b, supra, EOIR shall have 60 days from the date of the
   2              determination to arrange for provision of a Qualified Representative.
   3           7. When, at the conclusion of the Judicial Competency Inquiry, an
   4              Immigration Judge determines that he or she has insufficient evidence
   5              to determine if the Class member is competent pursuant to III.B.5.c,
   6              supra, the Immigration Judge shall follow the procedures set forth
   7              below:
   8              a. Upon the conclusion of the Judicial Competency Inquiry, the
   9                 Immigration Judge shall promptly order that a Forensic
  10                 Competency Evaluation of the Class member be conducted and
  11                 that the results of the evaluation be provided to the Immigration
  12                 Judge, the ICE Office of the Chief Counsel, and the Class member.
  13              b. A Forensic Competency Evaluation ordered by the Immigration
  14                 Judge shall be completed and a written report provided to the
  15                 Judge and the parties within 45 days after the date of the order set
  16                 forth in III.B.7.a, supra.
  17              c. Within 30 days after receiving the report from the Forensic
  18                 Competency Evaluation, the Immigration Judge shall convene a
  19                 Competency Review, including further testimony if necessary, and
  20                 shall make a determination by a preponderance of the evidence as
  21                 to whether the Class member is mentally competent or
  22                 incompetent to represent him- or herself.
  23              d. When, at the conclusion of the Competency Review, an
  24                 Immigration Judge determines that a Class member is mentally
  25                 incompetent to represent him- or herself pursuant to Section
  26                 III.B.5.b, supra, EOIR shall have 21 days from the date of the
  27                 determination to arrange for provision of a Qualified
  28                 Representative.


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   1           8. The Immigration Judge may allow one extension of no more than 30
   2              days for each of the timeframes set forth above for Judicial
   3              Competency Inquiries (Section III.B.3), Forensic Competency
   4              Evaluations (Section III.B.7.b), and Competency Reviews (Section
   5              III.B.7.c). The Immigration Judge may, thereafter, allow for
   6              additional extensions of these time frames in exceptional
   7              circumstances or where the Immigration Judge otherwise determines
   8              that such extensions are necessary to ensure the fundamental fairness
   9              of the Class member’s proceeding.
  10        C. Forensic Competency Evaluations
  11        As set forth below, defendants shall provide Forensic Competency
  12 Evaluations upon the request of Immigration Judges:
  13           1. Forensic Competency Evaluations shall be conducted by a “mental
  14              health professional,” defined as forensically trained and currently
  15              licensed psychiatrists, psychologists, and licensed clinical social
  16              workers.
  17           2. Except in very rare exigent circumstances, the Forensic Competency
  18              Evaluations conducted at the request of an Immigration Judge will be
  19              conducted in person, and not by teleconference, videoconference, or
  20              other remote access means. The parties agree that the following are
  21              not exigent circumstances that justify deviation from the in-person
  22              requirement: a) the unavailability of a trained mental health
  23              professional who meets the requisite qualifications and who is willing
  24              to travel to the individual’s location at the compensation rate
  25              requested by Defendants; b) the inconvenience or expense to
  26              Defendants associated with obtaining a trained mental health
  27              professional at additional cost. The exigent circumstances envisioned
  28              by the Parties are circumstances in which the unique characteristics or


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   1              social circumstances of the individual to be evaluated are such that the
   2              quality of the Forensic Competency Evaluation will be enhanced by
   3              the use of remote access technology, even though a qualified clinician
   4              is available for an in-person evaluation.
   5           3. Forensic Competency Evaluations must be conducted substantially in
   6              accordance with the procedures described in the American Academy
   7              of Psychiatry and the Law Practice Guideline for the Forensic
   8              Evaluation of Competence to Stand Trial.
   9        D. Additional Procedures
  10           1. Judicial Competency Inquiries and Competency Reviews shall be
  11              recorded. The Immigration Judge shall state on the record the
  12              reasoning supporting a finding of competence or incompetence.
  13           2. At or before Judicial Competency Inquiries and Competency
  14              Reviews, the ICE Office of the Chief Counsel, the Class member, and
  15              third parties (including family members, social service providers, and
  16              others) may submit to the Immigration Judge, and the Immigration
  17              Judge shall consider, additional mental health information or other
  18              information relevant to a detainee’s mental competency or
  19              incompetency to represent him- or herself in immigration
  20              proceedings.
  21           3. “Mental Health Information” includes any information expressly
  22              contained in or directly obtained from an Immigration Court’s
  23              administrative inquiry into mental competence, a portion of a hearing
  24              in which mental competence is addressed, a mental health
  25              examination of a detainee (including a request for such examination),
  26              and a report of such examination. Except as otherwise noted below,
  27              Mental Health Information shall only be used to determine a
  28              detainee’s mental competency to participate or represent oneself in an


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   1              immigration proceeding, and may not be used to establish the truth of
   2              allegations or charges against the detainee, or to establish ineligibility
   3              for relief.
   4                     The paragraph above shall not apply to DHS’s use of Mental
   5              Health Information if such information is independently submitted by,
   6              obtained by, or in the possession of DHS. If a respondent uses Mental
   7              Health Information in any proceeding for any purpose other than to
   8              inform his or her mental competency to participate in an immigration
   9              proceeding, the paragraph above shall not apply, and disclosure and
  10              use of the Mental Health Information shall be governed by rules of
  11              evidence and procedures applicable in immigration proceedings. If
  12              the detainee uses a part of a document or report, DHS may request the
  13              production of any other portion of that document or report. Such
  14              requests shall be granted at the Immigration Judge’s discretion upon
  15              consideration of all relevant factors.
  16           4. Either party may appeal the Immigration Judge’s determination that a
  17              detainee is mentally competent to represent him- or herself in
  18              immigration proceedings to the Board. In the event the ICE Office of
  19              the Chief Counsel appeals an Immigration Judge’s determination that
  20              a detainee is mentally incompetent to represent him- or herself in
  21              immigration proceedings to the Board, EOIR shall provide the
  22              detainee with a Qualified Representative to represent the detainee in
  23              the appeal before the Board and any other proceedings, including
  24              bond hearings, to which the detainee may be entitled under the
  25              Permanent Injunction unless and until the detainee is otherwise
  26              determined to be competent by an Immigration Judge.
  27           5. In the case of an unrepresented immigration detainee with an appeal
  28              pending before the Board who has not previously been determined to


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   1              be a Class member, when documentary, medical, or other evidence
   2              indicating that such individual falls under Section I.A.3.b comes to the
   3              Board’s attention, the Board shall order a remand to the Immigration
   4              Judge with instructions to apply the procedures set forth in Section
   5              III.B of this Order.
   6           6. Where an Immigration Judge finds from the record and proceedings
   7              before him/her, or from evidence made available to all parties, that
   8              there is sufficient reason to believe that the Sub-Class One member is
   9              no longer suffering from a mental disorder that renders him
  10              incompetent to represent him-or herself, before issuing any finding
  11              that the Sub-Class One member has in fact been restored to
  12              competency, the Immigration Judge shall employ and follow the
  13              procedures set forth in Section III.B.4 for conducting a Judicial
  14              Competency Inquiry, including reliance on and application of the
  15              Competency Proceeding Advisal attached as Appendix B. No finding
  16              of restored competency may be issued unless and until the
  17              Immigration Judge has invited the input of the Qualified
  18              Representative. The Immigration Judge shall state on the record the
  19              reasoning supporting a finding that the Sub-Class One member is now
  20              competent to represent him- or herself. Prior to stating such a finding,
  21              the Immigration Judge, in his or her discretion, may order that a
  22              Forensic Competency Evaluation of the Sub-Class One member be
  23              conducted and that the results of the evaluation be provided to the
  24              Immigration Judge and the parties, within the time frames set forth in
  25              Section III.B7(b) and (c).
  26           7. Absent exceptional circumstances, a Sub-Class One member shall not
  27              be found to have knowingly, intelligently and voluntarily waived his
  28              right to a Qualified Representative.


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   1 IV.     OTHER MATTERS
   2         A. EOIR’s nationwide policy
   3         Nothing in EOIR’s nationwide policy is intended to negate or alter the
   4 obligations of EOIR under the orders of the Court in Franco-Gonzalez v. Holder.
   5         B. Released Main Class Members
   6         The procedural protections set forth in the Permanent Injunction and in this
   7 Order are limited to individuals who are physically detained in ICE custody, except
   8 as provided in Sections IV.B and IV.C, infra:
   9         If a Main Class member is released from detention after an Immigration
  10 Judge has ordered a Forensic Competency Evaluation but before the Immigration
  11 Judge has made a competency determination, the Main Class member continues to
  12 be entitled to the procedural protections set forth in the Permanent Injunction and
  13 in this Order, including the completion of the Forensic Competency Evaluation,
  14 Section III.B.7.a-b, a Competency Review, Section III.B.7.c, and, if the
  15 Immigration Judge determines that the individual is not competent to represent
  16 him-or herself, the provision of a Qualified Representative, Section III.B.7.d. The
  17 timelines, however, for scheduling a Forensic Competency Evaluation, a
  18 Competency Review, and, if applicable, for provision of a Qualified
  19 Representative at the conclusion of a Competency Review shall not apply
  20 following such Main Class member’s release from detention; provided that, the
  21 Competency Review shall be scheduled no more than 45 days after the
  22 Immigration Court receives the report from the Forensic Competency Evaluation
  23 (absent exceptional circumstances or where the Immigration Judge otherwise
  24 determines that more time is necessary to ensure the fundamental fairness of the
  25 Class member’s proceeding). If such released Main Class member fails to appear
  26 at the Forensic Competency Evaluation ordered by the Immigration Judge for an
  27 unexcused reason or no reason, he or she may thereby forfeit the right to such an
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   1 evaluation, and the Immigration Judge may make the competency determination
   2 without the aid of that evaluation.
   3         If a Main Class member (who is not also a Sub-Class One member) is
   4 released from detention after Defendants have carried out the requirements in
   5 Section II.B, but before an Immigration Judge has ordered a Forensic Competency
   6 Evaluation in the case pursuant to Section III.B.7 or made a competency
   7 determination pursuant to Section III.B.5, he or she is not entitled to the procedural
   8 protections set forth in the Permanent Injunction and in this Order. However, if
   9 such released Main Class member fails to appear at a scheduled hearing for an
  10 unexcused reason or no reason, he or she shall not be ordered removed in absentia,
  11 unless or until (1) he or she is represented in his or her immigration proceedings or
  12 (2) he or she has been determined mentally competent by the Immigration Judge
  13 prior to the failure to appear. If such released Main Class member fails to appear
  14 at a scheduled hearing for an unexcused reason or no reason, he or she may be re-
  15 detained by ICE and, for purposes of any subsequent bond hearings, the failure to
  16 appear shall constitute clear and convincing evidence that the Main Class member
  17 is a flight risk.
  18         C. Released Sub-Class One Members
  19         Released Sub-Class One members are entitled to representation by Qualified
  20 Representatives pursuant to this Court’s Injunction until the conclusion of their
  21 immigration proceedings, irrespective of whether their case is transferred to a
  22 venue outside of the three states in which this Order applies.
  23         D. Class Definition
  24         Pursuant to the Parties’ agreement, the Court hereby substitutes the term
  25 “immigration proceedings” for “removal proceedings” and “detention and removal
  26 proceedings” in the Class definition. Therefore, the Class and Sub-Class
  27 definitions are as follows:
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   1         Plaintiff (or “Main”) Class:
   2                 All individuals who are or will be in DHS custody for immigration
   3         proceedings in California, Arizona, and Washington who have been
   4         identified by or to medical personnel, DHS, or an Immigration Judge, as
   5         having a serious mental disorder or defect that may render them incompetent
   6         to represent themselves in immigration proceedings, and who presently lack
   7         counsel in their immigration proceedings.
   8         Sub-Class 1:
   9                 Individuals in the above-named Plaintiff Class who have a serious
  10         mental disorder or defect that renders them incompetent to represent
  11         themselves in immigration proceedings.
  12         Sub-Class 2:
  13                 Individuals in the above-named Plaintiff Class who have been
  14         detained for more than six months.
  15         For purposes of the Class and Sub-Class definitions above, the class
  16 certification order [Doc. # 348], permanent injunction order [Doc. # 593], and this
  17 implementation plan order, “immigration proceedings” shall mean, and be limited
  18 to, proceedings at which Immigration and Customs Enforcement (“ICE”) appears
  19 on behalf of the Department of Homeland Security (“DHS”) before an Immigration
  20 Judge or the Board of Immigration Appeals (“BIA” or “Board”):
  21              (1) that occur prior to the entry of a final administrative order of removal,
  22                 final administrative order of deportation, final administrative order of
  23                 exclusion, or a final administrative determination pursuant to 8 C.F.R.
  24                 § 1208.2(c)(3);13 and
  25         13
               Pursuant to 8 C.F.R. § 1208.2(c)(3), in proceedings falling under the
     jurisdiction of an immigration judge for asylum and withholding of removal only
  26 applications under 8 C.F.R. § 1208.2(c)(1)‐(2), Defendants shall apply the
     provisions of Sections I (Screening and Information Gathering), II (Information
  27 Sharing), and III (Evaluation System), supra, as well as the Permanent Injunction
     and clarifying minute order [Doc. ## 593, 626].
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   1           (2) bond hearings that occur after the entry of a final administrative order
   2              of removal, final administrative order of deportation, final
   3              administrative order of exclusion, or a final administrative
   4              determination pursuant to 8 C.F.R. § 1208.2(c)(3) (collectively, “post-
   5              order bond hearings”), except in such cases where the final order is
   6              thereafter reopened; provided that, Defendants shall not be bound to
   7              apply the provisions of Section I (Screening and Information
   8              Gathering) and II (Information Sharing), supra. Instead, in all such
   9              post‐order bond hearings, the ICE Office of the Chief Counsel shall
  10              notify the Immigration Judge whenever the information contained in
  11              the file in its possession shows that a detainee was previously
  12              identified as a Class or Sub‐Class member. If the information in the
  13              file shows that a detainee was previously identified as a Class
  14              member, or if the Immigration Judge determines that the detainee is a
  15              Class member pursuant to Section I.A.b.3(iii), supra, then the
  16              Immigration Judge shall determine the detainee’s competence in
  17              compliance with Section III (Evaluation System), supra.
  18              Notwithstanding the above, if a detainee was previously determined to
  19              be a member of Sub‐Class One, he or she must be afforded a
  20              Qualified Representative in his or her post‐order bond hearings, unless
  21              a determination has been made that he is competent pursuant to the
  22              procedures described in Section III.D.6, supra.
  23        E. Implementation of Partial Settlement Agreement, Subject to the Court’s
  24           Approval
  25           1. Definition of “Removal Order Class Member.”
  26        Subject to the Court’s approval of the Parties’ Partial Settlement Agreement
  27 Regarding Procedures of Notifying and Reopening Cases of Franco Class
  28 Members who Have Received Final Orders of Removal (the “Agreement”)—


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   1 For purposes of this Order and Sections IV.E.2, infra, the term “Removal Order
   2 Class Member(s)” shall have the same meaning and applicability, and be limited
   3 to, the definition as set forth in Parties’ Agreement. See Agreement at Section I.
   4              2. Equitable Tolling of Time and Numerical Limitations for Motions to
   5                 Reopen under the Agreement.
   6         Subject to the Court’s approval of the Parties’ Agreement, the Court hereby
   7 orders that the time and numerical limitations set forth in the Immigration and
   8 Nationality Act and its implementing regulations shall be equitably tolled for
   9 motions to reopen filed by “Removal Order Class Members” and accepted for
  10 adjudication on the merits, as provided under the terms of the Parties’ Agreement.
  11         F. Tools
  12         Within 90 days of the entry of this Order, Defendants shall prepare tools to
  13 be provided to all Main Class members before the Judicial Competency Inquiry
  14 that will have basic information to help individuals prepare for the hearing. Prior
  15 to finalizing these tools, Defendants shall provide Plaintiffs with a reasonable
  16 opportunity to review Defendants’ proposed tools and to provide input.
  17         G. Retention of Jurisdiction
  18         This Court retains jurisdiction to entertain such further proceedings and to
  19 enter such further orders as may be necessary or appropriate to enforce the
                                                                           14
  20 provisions of this Order, or to amend this Order for good cause shown. In
  21 addition to the dispute resolution procedures contained in this or further Orders, the
  22
     //
  23 //
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  26         14
              Nothing in this order should be read to suggest that the Court has subject
  27 matter jurisdiction to entertain individual challenges to removal orders entered in
     immigration proceedings brought by or on behalf of Class members.
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   1 Parties shall comply with the requirements of Local Rule 7-3 prior to bringing any
   2 motion seeking to implement, enforce, or amend this Order.
   3
   4 IT IS SO ORDERED.
   5
       DATED: October 29, 2014              ______________________________
   6
                                                    DOLLY M. GEE
   7                                        UNITED STATES DISTRICT JUDGE
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                                 TABLE OF TIMELINES15
   1
   2
                                      Implementation
   3
   4                 DATE                                       ACTION
   5 Within 90 days of the entry of this        Defendants must implement the
     Order.                                     Screening System (see Section I),
   6                                            Information Sharing System Between
   7                                            ICE and EOIR (see Section II), and the
                                                Evaluation System (see Section III).
   8 Within 90 days of the entry of this        Defendants shall prepare tools to be
   9 Order.                                     provided to all Main Class members
                                                before the Judicial Competency
  10
                                                Inquiry. See Section IV.F.
  11
  12                               Screening Procedures
  13                  DATE                                       ACTION
  14 Upon a detainee’s admission into ICE       Absent emergency circumstances
     custody at an immigration detention        related to facility security or the health
  15 facility for immigration proceedings in    and safety of staff or detainees, all
  16 California, Arizona, or Washington.        detainees shall be initially screened for
                                                evidence of a “serious mental disorder
  17                                            or condition,” in accordance with the
  18                                            applicable ICE national detention
                                                standards. See Section I.A.2.
  19
     Within 14 days of a detainee’s             Absent emergency circumstances
  20 admission into ICE custody at an           related to facility security or the health
     immigration detention facility for         and safety of staff or detainees,
  21
     immigration proceedings in California,     detainees shall be further screened (or
  22 Arizona, or Washington.                    assessed) by a currently and
                                                appropriately licensed psychiatrist,
  23
                                                physician, physician assistant,
  24                                            psychologist, clinical social worker,
                                                licensed nurse practitioner, or
  25
  26        15
              The Table of Timelines is provided for convenience only and is not a part
  27 of this Order. Accordingly, it does not supplement, modify, or in any way alter the
     contents of this Order.
  28


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                                                registered nurse. See Section I.A.2.
   1
       As soon as practicable, ordinarily       Individuals identified as exhibiting
   2   within 14 days after a detainee is       evidence of a serious mental disorder
       identified through the screening         or condition shall be referred for a
   3
       process as exhibiting evidence of a      mental health assessment performed by
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   4   serious mental disorder or condition.    a qualified mental health provider. See
                                                Section I.A.3.17
   5
       Within seven (7) days of the             The qualified mental health provider
   6   completion of a mental health            shall cause the ICE Office of the Chief
   7   assessment.                              Counsel to be notified if such mental
                                                health assessment or other available
   8                                            information shows that an immigration
   9                                            detainee meets specified Main Class
                                                Membership Criteria. See Section
  10                                            I.A.5.18
  11   Within seven (7) days of a toll-free     The Hotline operator shall cause such
       telephone hotline operator’s receipt of information to be reported to the ICE
  12   relevant information regarding           Office of the Chief Counsel. See
  13   detainees with serious mental disorders Section I.B.3.
       or conditions.
  14   Within seven (7) calendar days of        Counsel for the Parties shall meet and
  15   Plaintiffs’ counsel providing            confer in a good faith effort to resolve
       Defendants with a written statement      their dispute informally. See Section
  16   describing alleged non-compliance        I.B.4.
  17         16
               As set forth in the Order, whenever ICE or detention facility personnel
  18 become aware that an immigration detainee identified through the screening
     system was previously found incompetent in any court proceedings (including past
  19 criminal proceedings) or was hospitalized due to a mental disorder or condition,
     ICE or detention facility personnel must provide that information, and any related
  20 documents in their possession, to the qualified mental health provider performing
     the mental health assessment. See Section I.B.1.
  21        17
               As set forth in the Order, if a detainee was not referred for a mental health
  22 assessment upon initial screening, but information and/or records received through
     third parties indicate that an individual suffers from a serious mental disorder or
  23 condition, such individual shall be referred for a mental health assessment for
     further evaluation. See Section I.B.2.
  24        18
               As set forth in the Order, if the mental health assessment has already been
  25 completed at the time that ICE or detention facility personnel provide the
     information or documents referenced in footnote 16 or 17, supra, the qualified
  26 mental health provider must determine whether the new information affects the
     determination whether a detainee meets the Class membership criteria, and shall
  27 cause the ICE Office of the Chief Counsel to be notified of any change in that
     determination. See Section I.B.1, I.B.2.
  28


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       with the Information Gathering
   1
       Procedures (i.e., “Notice of Non-
   2   Compliance”).
       In the event the Parties are unable to     Plaintiffs may file a motion for
   3
       resolve the dispute regarding the          enforcement in the United States
   4   alleged non-compliance with the            District Court for the Central District
       Information Gathering Procedures           of California. See Section I.B.4.
   5
       informally within 21 calendar days of
   6   the Notice of Non-Compliance.
   7
                                    Information Sharing
   8
                      DATE                                        ACTION
   9
     Upon notification that a detainee meets      The ICE Office of the Chief Counsel
  10 the Main Class Membership Criteria,          shall gather relevant documents and
     and is therefore a member of the Class.      information, if in the possession of ICE
  11
                                                  or the detention facility personnel. See
  12                                              Section II.A.
  13 Within 21 days of notification that a        The ICE Office of Chief Counsel shall
     detainee meets the Main Class                file a notice with EOIR to notify the
  14 Membership Criteria.                         Immigration Judge presiding over the
  15                                              detainee’s case, or the Board of
                                                  Immigration Appeals, if applicable,
  16                                              that the detainee – if unrepresented – is
  17                                              a member of the Class. See Section
                                                  II.B.
  18
  19                                 Evaluation System19

  20                   DATE                                     ACTION
  21 No later than 21 days after receiving        The Immigration Judge shall convene a
     the notice that a detainee is a member       Judicial Competency Inquiry,
  22 of the Main Class.                           following which the Immigration Judge
  23                                              may, based on all available evidence
  24         19
              As set forth in the Order, the Immigration Judge may allow one extension
  25 of no more than 30 days for each of the timeframes for Judicial Competency
     Inquiries, Forensic Competency Evaluations, and Competency Reviews. The
  26 Immigration Judge may, thereafter, allow for additional extensions of these time
     frames in exceptional circumstances or where the Immigration Judge otherwise
  27 determines that such extensions are necessary to ensure the fundamental fairness of
     the Class member’s proceeding. See Section III.B.8.
  28


                                             30
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                                                and testimony presented, find the Class
   1
                                                member competent or not competent,
   2                                            or determine that there is not sufficient
                                                evidence to determine if the Class
   3
                                                member is competent. See Section
   4                                            III.B.3, III.B.5.
       60 days from the date an Immigration     EOIR shall arrange for the provision of
   5
       Judge determines that a Class member     a Qualified Representative. See
   6   is not competent to represent him- or    Section III.B.6.
   7   herself in the proceedings (if the
       determination is made at the conclusion
   8   of the Judicial Competency Inquiry).
   9   Upon the conclusion of the Judicial     The Immigration Judge shall promptly
       Competency Inquiry.                     order that a Forensic Competency
  10                                           Evaluation of the Class member be
  11                                           conducted and that the results of the
                                               evaluation be provided to the
  12                                           Immigration Judge, the ICE Office of
  13                                           the Chief Counsel, and the Class
                                               member. See Section III.B.7.a.
  14   Within 45 days after the date an        The Forensic Competency Evaluation
  15   Immigration Judge orders a Forensic     shall be completed and a written report
       Competency Evaluation.                  provided to the Immigration Judge and
  16                                           the parties. See Section III.B.7.b.
  17   Within 30 days after receiving the      The Immigration Judge shall convene a
       report from the Forensic Competency     Competency Review, and shall make a
  18   Evaluation.                             determination by a preponderance of
  19                                           the evidence as to whether the Class
                                               member is mentally competent or
  20                                           incompetent to represent him- or
  21                                           herself. See Section III.B.7.c.
  22 21 days from the date of an             EOIR shall arrange for the provision of
  23 Immigration Judge determines that a     a Qualified Representative. See
     Class member is not competent to        Section III.B.7.d.
  24 represent him- or herself (if the
  25 determination is made at the conclusion
     of the Competency Review).
  26
  27
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   1
                     Other Matters – Released Main Class Members
   2
                        DATE                                   ACTION
   3
       No more than 45 days after the          Absent exceptional circumstances or
   4   Immigration Court receives the report   where an Immigration Judge otherwise
   5   from the Forensic Competency            determines that more time is necessary
       Evaluation (if the Main Class member    to ensure the fundamental fairness of
   6   was released from detention after the   the Class member’s proceeding, a
   7   Immigration Judge ordered a Forensic    Competency Review shall be
       Competency Evaluation but before the    scheduled. See Section IV.B.
   8   Immigration Judge made a competency
   9   determination).20

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  26          As set forth in the Order, the timelines for scheduling a Forensic
     Competency Evaluation, a Competency Review, and, if applicable, for provision of
  27 a Qualified Representative at the conclusion of a Competency Review shall not
     apply following a Main Class member’s release from detention. See Section IV.B.
  28


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                                                               Appendix A
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